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                           UNITED STATES DISTRICT COURT
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                         CENTRAL DISTRICT OF CALIFORNIA
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     MICHAEL GRECCO PRODUCTIONS, CASE NO.: 2:19-cv-04716-AB-KS
11   INC., d/b/a “Michael Grecco             Hon. André Birotte, Jr. Presiding
12   Photography”, a California corporation,
                                             ORDER DISMISSING ACTION
13   Plaintiff,                              WITH PREJUDICE
14
     v.
15
     BDG MEDIA, INC.; and DOES 1
16   through 10 inclusive,
17   Defendants.
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           Based on the parties’ Stipulation, the Court ORDERS

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           1.      The action is dismissed with prejudice; and

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           2.      The parties will each bear their respective costs and attorneys’ fees as

22
                   incurred against one another in connection with this action.

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           SO ORDERED.

25   Dated: February 22, 2022                By: ________________________________
26                                              HON. ANDRÉ BIROTTE, JR.
                                                UNITED STATES DISTRICT JUDGE
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                                              ORDER
